                                            May 17, 2021

Honorable Marc Treadwell,


I noticed my COVID-19 like symptoms today and I notified the court as soon as I reasonably
could. I understand that there is no other way to present remotely pursuant to the clerk’s instruction.
I am respectfully requesting that today’s hearing be rescheduled. I began noticing these symptoms
this morning.
We are requesting for this hearing to be rescheduled or in the alternative to participate remotely. I
am available to present but just not healthy. My cellphone number is 404.918.5368 and I can also
be reached by email at Isaiah@gmageorgia.com. This is the best way to contact me as I am not in
the office until I receive my results.


Respectfully Submitted this 17th day of May, 2021




Attorney for Plaintiff Sophia Vazquez, a minor child
